                     UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF TEXAS
                         SAN ANTONIO DIVISION

USA                                      §
                                         §
vs.                                      §    NO: SA:19-CR-00905(1,2)-DAE
                                         §
(1) Christopher Felix Montoya            §


                 ORDER CONTINUING TRIAL DATE
         AND EXCLUDING TIME UNDER THE SPEEDY TRIAL ACT
      Before the Court is Defendant's unopposed motion to continue the Ellis
Deadline and the trial of this case, citing defense counsel's request for additional
time to continue plea negotiations. The Government is unopposed to the request
for a continuance. For the reasons stated, the Court finds the motion (Dkt no. 61)
to be well taken and is GRANTED.
      IT IS THEREFORE ORDERED THAT trial of this case, currently set for
Monday, June 1, 2020, be and hereby is continued.
      The deadline for notifying the court of any plea agreement entered
      into by the parties in this cause is Friday, July 17, 2020 . No plea
      agreement entered into after that date shall be honored by this Court
      without good cause shown for the delay.

      Should a plea agreement be reached and filed in this case absent
      written objection filed contemporaneously therewith, this case will
      be referred to a United States Magistrate Judge for the purpose of
      administering the plea of guilty and the Fed. R. Crim. P. 11
      allocution, subject to final approval and the imposition of sentence
      by the United States District Court.

      Jury selection and trial are reset for August 03, 2020 at 09:30 AM
      in Courtroom 5 of the John H. Wood, Jr., United States Courthouse,
     655 E. Cesar Chavez Boulevard, San Antonio, Texas. All pretrial
     motions, including motions in limine, are due July 21, 2020,
     responses due July 23, 2020. No pretrial motions will be accepted by
     the court after said deadlines, without showing good cause for the
     delay.


      The Court finds that the period between June 1, 2020, and August
03, 2020, is a reasonable period of necessary delay to allow counsel to
negotiate a plea; and/or to review discovery and the record to date, and to
prepare for trial. The Court finds that the interest of justice served by taking
such action outweighs the best interest of the public and the defendant in a
speedy trial, and further finds that such period shall be excluded from the
time within which the defendant must be brought to trial under the Speedy
Trial Act pursuant to 18, United States Code, Section 3161(h)(7).


Pretrial Submissions
          The Court ORDERS all parties to serve and file the following
information by the close of business Monday, July 27, 2020:
          (1) A list of questions the party desires the court to ask prospective
jurors.
          (2) A list of stipulated facts.
          (3) An appropriate identification of each exhibit as specified in this rule
(except those to be used for impeachment only), separately identifying those that
the party expects to offer and those that the party may offer if the need arises.
          (4) The name and, if not previously provided, the address and telephone
number of each witness (except those to be used for impeachment only),
separately identifying those whom the party expects to present and those whom
the party may call if the need arises.
         (5) The name of those witnesses whose testimony is expected to be
presented by means of a deposition and designation by reference to page and line
of the testimony to be offered (except those to be used for impeachment only) and,
if not taken stenographically, a transcript of the pertinent portions of the
deposition testimony.
         (6) Proposed jury instructions and verdict forms.        The parties are
ORDERED to meet and confer and submit a joint proposed set of jury
instructions. Any jury instructions to which both parties do not agree must be
submitted separately with appropriate citations to the law supporting those
instructions. Joint jury instructions shall be submitted in complete format as they
would appear when submitted to the jury. The joint jury instructions shall also be
emailed in a Word document to Priscilla Springs Courtroom Deputy at
Priscilla_Springs@txwd.uscourts.gov.
          (7) An estimate of the probable length of trial.


Objections to Pretrial Submissions
         The Court also ORDERS both parties to serve and file the following
information by close of business on Wednesday, July 29, 2020:
         (1) A list disclosing any objections to the use under Rule 32(a) of
deposition testimony designated by the other party.
         (2) A list disclosing any objection, together with the grounds therefore,
that may be made to the admissibility of any exhibits. Objections not so disclosed,
other than objections under Federal Rules of Evidence 402 and 403 shall be
deemed waived unless excused by the court for good cause shown.
      IT IS SO ORDERED.
     DATED: San Antonio, Texas, June 01, 2020.



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                                        DAVID A. EZRA
                                        SENIOR U.S. DISTRICT JUDGE
